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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KAI JOCHIMS, individually and on behalf of all                 :
others similarly situated,                                     :
                                                               :
                                         Plaintiff,            :
             v.                                                :   21 Civ. 6360 (AKH)
                                                               :
OATLY GROUP AB, TONI PETERSSON,                                :   ORDER DISMISSING THE
CHRISTIAN HANKE, FREDRIK BERG,                                 :   COMPLAINTS
STEVEN CHU, ANN CHUNG, BERNARD                                 :
HOURS, HANNAH JONES, MATTIAS                                   :
KLINTEMAR, PO SING (TOMAKIN) LAI, ERIC :
MELLOUL, BJORN OSTE, FRANCES RATHKE, :
YAWEN WU, and TIM ZHANG,                                       :
                                                               :
                                         Defendants.           :
-------------------------------------------------------------- X
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FRANCESCA BENTLEY, individually and on                         :
behalf of all others similarly situated,                       :
                                                               :
                                         Plaintiff,            :
             v.                                                :
                                                               :   21 Civ. 6485 (AKH)
OATLY GROUP AB, TONI PETERSSON,                                :
CHRISTIAN HANKE, FREDRIK BERG,                                 :
STEVEN CHU, ANN CHUNG, BERNARD                                 :
HOURS, HANNAH JONES, MATTIAS                                   :
KLINTEMAR, PO SING (TOMAKIN) LAI, ERIC :
MELLOUL, BJORN OSTE, FRANCES RATHKE, :
YAWEN WU, and TIM ZHANG,                                       :
                                                               :
                                         Defendants.           :
-------------------------------------------------------------- X
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ANTHONY KOSTENDT, individually and on                          :
behalf of all others similarly situated,                       :
                                                               :
                                         Plaintiff,            :
             v.                                                :   21 Civ. 7904 (AKH)
                                                               :
OATLY GROUP AB, TONI PETERSSON,                                :
CHRISTIAN HANKE, FREDRIK BERG,                                 :
STEVEN CHU, ANN CHUNG, BERNARD                                 :


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    HOURS, HANNAH JONES, MATTIAS                                :
    KLINTEMAR, PO SING (TOMAKIN) LAI, ERIC                      :
    MELLOUL, BJORN OSTE, FRANCES RATHKE,                        :
    YAWEN WU, and TIM ZHANG,                                    :
                                                                :
                                          Defendants.           :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                  The above three putative securities class actions each allege that Defendants, an

oatmilk company (“Oatly”) and its directors and officers, made materially false and misleading

statements, and also failed to disclose, material adverse facts about Oatly in its Registration

Statement, including the company’s financial metrics, sustainability, and growth in China. The

Complaints seek relief on behalf of all purchasers of American Depositary Shares (ADSs) of

Oatly, between May 20, 2021 and July 15, 2021 (the “Class Period”), under Sections 10(b) and

20(a) of the Securities Exchange Act of 1934 (“Exchange Act), as amended by the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. §§ 78j(b) and 78t(a), and

Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5. Now before me are motions

seeking to consolidate these actions pursuant to Federal Rule of Civil Procedure 42(a), and to

appoint the respective movants as lead plaintiff and lead counsel pursuant to § 21D of the

Exchange Act. See ECF Nos. 6, 9, 11, 14, 18. 1

                  I am unable to decide these motions, as required by the PSLRA, which instructs

courts to “appoint as lead plaintiff” the party or parties “most capable of adequately representing

the interests” of the class. 15 U.S.C. § 78u-4(a)(3)(B)(i). A complaint that does not allege the

information required to be evaluated under the strictures of Fed. R. Civ. P. 8(a)(2) and 11 is not

sufficient. Plaintiffs may re-plead, showing the types of securities subsumed by an ADS

(whether options or shares), when they were purchased, when they were sold, and how many



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 Initially, 5 individuals or groups of individuals, sought appointment as lead plaintiff. All but two of these parties
have since withdrawn or filed their non-opposition to the competing motions. ECF Nos. 22, 23, 24.

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shares the respective plaintiff purchased, for me to determine who should be appointed as lead

plaintiff and lead counsel. No plaintiff pleads this information.

               The Clerk of Court shall terminate the open motions (ECF Nos. 6, 9, 11, 14, 18).

Amended complaints, and motions to be appointed lead plaintiff and lead counsel, are due

December 1, 2021.



               SO ORDERED.

Dated:         October 26, 2021                          ______/s/ Alvin K. Hellerstein_____
               New York, New York                            ALVIN K. HELLERSTEIN
                                                             United States District Judge




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